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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION




UNITED STATES OF AMERICA,

                        Plaintiff,                    Case No. 2:06-cr-15-04

v.                                                    HON. R. ALLAN EDGAR

CHRISTOPHER STEVEN YACKEL,

                  Defendant.
____________________________________/


                             REPORT AND RECOMMENDATION

                 Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on July 12, 2006, after receiving the written consent of defendant and all counsel. At the

hearing, defendant CHRISTOPHER STEVEN YACKEL entered a plea of guilty to Count 12 of the

Indictment, charging defendant with Distribution of a Controlled Substance - Oxycodone in violation

of 21:841(a)(1) and 841(b)(1)(C), in exchange for the undertakings made by the government in the

written plea agreement. On the basis of the record made at the hearing, I find that defendant is fully

capable and competent to enter an informed plea; that the plea is made knowingly and with full

understanding of each of the rights waived by defendant; that it is made voluntarily and free from

any force, threats, or promises, apart from the promises in the plea agreement; that the defendant

understands the nature of the charge and penalties provided by law; and that the plea has a sufficient

basis in fact.
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               I therefore recommend that defendant's plea of guilty to Count 12 of the Indictment

be accepted, that the court adjudicate defendant guilty, and that the written plea agreement be

considered for acceptance at the time of sentencing. Defendant shall self surrender as directed by

Pretrial Services on or before August 14, 2006. Acceptance of the plea, adjudication of guilt,

acceptance of the plea agreement, determination of defendant's status pending sentencing, and

imposition of sentence are specifically reserved for the district judge.



Date: July 12, 2006                                     /s/ Timothy P. Greeley
                                                       TIMOTHY P. GREELEY
                                                       United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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